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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

FILE'D By Dc

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SECURITY FIRE PROTECTION

Plaintiff,

 

v. No. 05-2353 B

ROBERT S. RUSSELL and
SOUTHERN FIRE & SECURITY, INC.,

Defcndants.

 

 

ORDER TO SHOW CAUSE WHY DEFENDANT’S MOTION
TO DISMISS SHOULD NOT BE GRANTED

 

Before the Court is the July 20, 2005 motion to dismiss by the Defendants, Robert S.
Russell and Southern Fire & Security, Inc., against the Plaintiff. According to the Court'S docket,
no response has been filed on behalf of the Plaintiff, even though the deadline for such a
response has expired.l Accordingly, the Plaintiffs is hereby directed, within eleven (l l) days of
the entry hcreof, to show cause why the motion referenced herein should not be grantedl Failure
of the Plaintiff to comply in a timely manner with this order may result in dismissal with

prejudice of Plaintift"s claims against Defendants.

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lUnder the Local Rules of this district, responses to motions for summary judgment "must
be filed within thirty days of service of the motion." LR7.2, Local Rules of the U.S. Dist. Ct. for

the W. Dist. ofTenn.
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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02353 was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Reagan F. Goins

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

J ames B. Summers

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Thomas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Kristy L. Gunn

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Honorable J. Breen
US DISTRICT COURT

